                     Case 3:11-cr-00040-HDM-WGC                                             Document 48       Filed 12/07/11       Page 1 of 6
AO 2458 (Rev.(19/1l)judgmentinaCriminalCase
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                         '
                                                 U M TED STATES D ISTRICT C O                                                  T
                                                                                          DistrictofNevada

        UNITED STATES0FAM ERICA                                                            )        JUDGM ENT IN A CRIM INAL CASE
                                                                                           )                                                                      -
                               v.                                                          )                     '
                                                                                           )        CmseNumber:3:11-cr-00040-HDM -W GC-1
                     ERICA SEGURA                                                          )
                     akaErikaSegura(TrueName)                                              )        USM Number:45869-048
                                                                                           )
                                                                                           )        M ichaelKenned AFPD
                                                                                                     e en ant s ttorney
TH E D EFEN DA N T:
(
L X pleaded guilty to Sinqle CountSuoersedinq lnfonnation Gled 8/30/201l
E:1pleadednolocontenderetocountts)
        w hich w as accepted by the court.
ElwasAf
     fotmdguiltyoncountts)
           tera plea ofnotguilty,

Thedefendantisadjudicatedguiltyoftheseoffenses:
Title & Section                             N ature ofO ffense                                                             O ffense Ended        C ount
21,U.S.C.j84309                             UseofaTelephoneinCausingorFacilitating ' 9/7/2010                                                    0ne
                                            the Conunission ofFelonies U nderthe
                                            Conkolled Substances Act

        Thedefendantissentencedmsprovidedinpages2through 6 ofthisjudgment.Thesentenceisimposedpursuanttothe
Sentencing Refonn Actof1984.

U Thedefendanthasbeenfoundnotguiltyoncountts)
XX CountsOneandTwoofIndictmenttiled 3/2/2011aredismissedonthemotionoftheUnited StatesmstoDefendant
   Erica Segtlra only.

        Itisordered thatthedefendantmustnotifytheUnitedStatesattorneyforthisdistrictwithin30daysofanychangeofname residence,
ormailingaddressuntila1lfinesrestitution costs andspecialassessmentsimposedbythisjudgmentarefullypaid.Iforderedtopayrestitution
thedefendantmustnotify the courtand UnitedStatesattorneyofmaterialchangesineconom iccircum stances.
                ..   .
                             FIt.E9                   RK EIVD   j
                                                                Dx jx m jx r6.gtjjj                                            '
                             ENTERED                  SERVE2ON ate ofImposition ofJudgment
                                         COUNSEI
                                               JFARTIESOFREK RD                                                            '
                                                 '

                                   2EC 7 zgjj-
                                                                                            Igpature0ç udge
                              CLERKUSDISTRICTCOURT                                         H O W A RD D .M CK IB BEN                                      '
          ' 8Y                  DISTRICT0FNEVADA                                           seniorU .S.DistrictJudze                                           x
                     :         -
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                                                                                 ry
                                   - - - - - - .- - - - -.- ......-...- ...- .. ..- .      Nameand TitleofJudge        .
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                                                                                                       )jyj
                Case 3:11-cr-00040-HDM-WGCI Document 48                         Filed 12/07/11   Page 2 of 6                :
AO 2458 (Rev.(
             19/11)JudpnentinaCriminalCase                    g                      '
        Sheet2 -Imprisonmcnt                                  l                                                      .
                                                              I            .                       Judgment-Page 2   of 6
                                                     'f:! ). :
DEFENDANT:                ERICA SEGURA,akaErikaSegura(TrueNamel
CASE NUM BER:             3:1l-cr-00040-HDM -W GC-1

                                                             IM PR ISO NM ENT

        Thedefendantishereby comm itted tothecustodyoftheUnited StatesBureau ofPrisonsto beim prisoned fora'
totaltenn ofTwenty-one(21)M onths.

                                                     E       J
                                                             ' .
                                                     j:      .
                                                     .. .!


XX      The courtm akesthefollow ing recommendatidnsto the Bureau ofPrisons:
        Recom m endation for placem entofDefendahtatFCID ublin in California.




XX Thedefendantisremanded to thecustody ofthe United StatesM arshal.


(ZIThedefendantshallsurrenderto the United States M arshalforthisdistrict:                                       '
        (ZIat                  EEI a.m .E
                                        :1 p.m .on                              .
        EIas notitied by the United StatesM arshal.
IZIThe defendantshallsurrenderforservice ofsentenceatthe institution designated by the Bureau ofPrisons:
        (ZI before2 p.m .on                                          .
        Elas notitied by the United StatesM arshal.' :
        Elas notified by the Probation orPretrialServicesOffice.


                                                                     R ETUR N
Ihaveexecutedthisjudgmentasfollows:                              '

D efendantdelivered on                                                     to                                        a
                         withacertifiedcopyofthisjudgment.

                                                                                            UNITED STATES M ARSHAL


                                                                                    By
                                                                                    DEPU TY UN TIED STA TES M ARSH AL
                   Case 3:11-cr-00040-HDM-WGC                     Document 48            Filed 12/07/11          Page 3 of 6
AO 245B (Rev. 09/11) Judgment in a Criminal Case
        Sheet 3 - Supervised Release
                                                                                                                     Judgment - Page   3   of   6

DEFENDANT:                    ERICA SEGURA, aka Erika Segura (True Name)
CASE NUMBER:                  3:11-cr-00040-HDM-WGC-1

                                                       SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: One (1) Year.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court, not to exceed 104 tests annually.

G         The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)
XX        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
XX        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
G         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)


        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                         STANDARD CONDITIONS OF SUPERVISION

1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
          officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
          criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
          the defendant’s compliance with such notification requirement.
                 Case 3:11-cr-00040-HDM-WGC             Document 48      Filed 12/07/11      Page 4 of 6
AO 2458 (Rev.W/11)JudP (
                       mtinaCrimi
                                nalCase                                                  '
        Shect3C -Sum rvlsedRcleItse
                                                                                                Judgment-Page 4   of 5
DEFENDANT:                 ERICA SEGURA,akaErikaSegura(TrueName)
CA SE N UM BER :           3:11-cr-00040-HD M 2W GC-1

                                      SPECIA L CO ND ITIO N S O F SU PER VISION
1.     Possession ofW eaoon -Thedefendantshallnotpossess,haveunderhercontrol,orhaveaccessto any firearm,explosive
       device,orotherdangerousweapons,asdefined by federal,state orlocallaw.

2.     W arrantless Search -The defendantshallsubmitto the search ofherperson,and any propedy,residence,orautomobile
       underhiscontrolby the probationofficeq orany otherauthorized person underthe immediateand personalsupervision of
       the probationofficer,w ithouta search warrantto ensurecompliance with al1conditionsofrelease.

3,'    Substance Abuse Treatment-The defendantshallparticipate in and successfully complete a substance abusetreatment
       and/orcognitivebased lifeskillsprogram,whichw illincludedrug/alcoholtesting,and/oroutpatientcounseling, msapproved
       and directedby theprobationoffice.Thedefendantshallrefrainfrom theuseand possessionofbeer,wine,liquor,and other
       fonnsofintoxicantswhileparticipating insubstanceabusetreatment.Further,thedefendantshallberequiredtocontribute
       to the costsofservicesforsuch treatment,as approved and directed by the probation oflice based upon the defendant's
       ability to pay.
                                                                                                    @
                                                                                                    .

4.     AlcoholAbstinence -The defendantshallrefrain from the use and possession ofbeer,winesliquor, and otherforms of
       intoxicants.

5.     Drue/AlcoholTestinz-TheDefendantshallsubmittodrug/alcoholtestingasdirected bytheprobationofficernottoexceed
       104 testsperyear.                      .

6.     M entalHeaIthTreatment-Thedefendantshallparticipateinandsuccessfully com pleteamentalhealthtreatmentprogram ,
       which may includetestinw evaluation,and/oroutpatientcounseling,asapprovedanddirectedbytheprobationoffice. The
       defendantshallrefrain from theuseand possessionofbeer,wine,liquor,and otherformsofintoxicantswhileparticipating
       in menà lhealthtreatment.Further,thedefendantshallberequired t6contributeto thecostsofservicesforsuchtreatment,
       asapproved and directed by theprobation office based uponthe defendant'sability to pay.

7.     Reportto Probation OfficerA fterRelease from Custodv -The defendantshallreportin person to theprobation office in
       the Districtto which the defendantisreleased w ithin 72 hoursofrelease from custody.
                  Case 3:11-cr-00040-HDM-WGC                 Document 48      Filed 12/07/11    Page 5 of 6
AO 2458 (Rev.09/1l)JudrgncntinaCriminalCasc
         Sheet5 -Crim inalM onetar'yPenalties
                                                                                                   Judgment-Page 5   of 6
DEFENDANT:                   ERICA SEGURA,akaErikaSegtlra(TrueName)
CASE NUM BER:                3:11-cr-00040-HDM -W GC-l
                                                C    INAL M O NETA RY PENALTIES
        The defendantm ustpay thetotalcriminalm onetary penaltiesunderthe scheduleofpaym entson Sheet6.

                   Assessm ent                                   Fine                          Restitution
TO TALS            $100.00,due and payable im mediately          None                          N/A


E1      Thedetenninationofrestitution isdeferreduntil            .      .AnAmendedludgmentina CriminalCaie(AO 245C)
        w illbe entered aûersuch detennination.                                                                      '

C1      Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlistedbelow.
        Ifthedefendantm akesapm ialpayment,eachpayeeshallreceiveanapproxim atelyproportionedpayment,unlessspecifiedothenvise
         inthepriorityorderorpercentagepaymentcolumnbelow.However,pursuantto 18U.S.C.j3664(1) allnonfederalvictimsmustbe
        paid beforetbe United Statesispaid.

Nam eofPavee                                    TotalLoss*       Restitution O rdered          Prioriw orPercentaee

Clerk,U.S.D istrictCourt
Attn:FinancialOfficer
CaseNo. 3:11-cr-00040-H D M -W G C -1
333 LasVegasBoulevard,South
Las Vegas,NV 89101




TOTALS                                 $                         $

D       Restitution amountordered pursuanttopleaagreement$
I
ZI     .The defendantm ustpay intereston restitution and a Gne ofmorethan $2,500 unlessthe restitution orGne ispaid in full
        beforethefifteenthdaya'
                              herthedateofthejudgment,pursuantto 18U.S.C.9361249.AllofthepaymentoptionsonSheet
        6maybesubjectto penaltiesfordelinquencyanddefault,pursuantto l%U.S.C.j3612(g).
E1      Thecourtdeterm ined thatthe defendantdoesnothavethe ability to pay interestand itis ordered that:

        C)        the interestrequirem entiswaived fortheIZIfine (:1restitution.

        C1        the interestrequirem entforthe E1Gne D restitution is modified asfollows:


*FindingsforthetotalamountoflossesarerequifedunderChaptersl09A,II0,lI0A and 113A ofTitle 18 foroffensescommittedon oraher
Septem berI3,1994,butbeforeA pril23,1996.
                Case 3:11-cr-00040-HDM-WGC                  Document 48          Filed 12/07/11        Page 6 of 6
AO 2458 (Rcv.09/11)JudgmentinaCriminalCase
        Sheet6-Scheduleorpayments
                                                                                                           Judgment-Page 6    of 6
DEFENDANT'
         .               ERICA SEGURA,akaErikaSegura(TrueName)
CA SE NU M BER :         3:1l-cr-00040-H D M -W G C-1
                                               SCH ED ULE OF PA YM ENTS

Having assessed the defendant'sability to pay,paymçntofthetotalcriminalmonetary penaltiesisdue as follow s:

A       XX       Lum p sum paym entof$100.00 due immediately,balancedue
                 C1      Notlaterthan                  .or
                 (ZI     in accordance E1C, EID, D E,orI
                                                       ZIF below;or

B       (ZI      Paymentto begin immediately(maybecombinedwith EZIC, (Z1D or I
                                                                             ZIF below);or
C       CI       Paymentinequal                  re.g.,weekly,monthly,quarterly)installmentsof$         overaperiod
            .
                 of             4e.g.,montllsoryears),tocommence                (e.g.,30or60JJ-PJJaherthedateofthis
                judgment;or
D       D        Paymentinequal                   rag,weekly,monthly,quarterly)installmentsof$          overaperiod
                 of             (e.g.,zzion//l.
                                              çoryears),tocommence               4e.g.,30or60tftzyw.
                                                                                                   ,
                                                                                                   laûerreleasefrom
                 imprisonmentto aterm ofsupervision;or

E       I
        ZI       Paymentduringtheterm ofsupervisedreleasewillcommencewithin                         (e.g.,30or60JC-PJ'
                                                                                                                     .Iafterrelease
                 from imprisonment.Thecourtw illsetthe paymentplan based on an assessmentofthe defendant'sability to pay
                 atthattime',or

F       (
        ZI       Specialinstructionsregarding thepaym entofcrim inalm onetary penalties:


Unlessthecourthasexpresslyorderedotbenvise ifthisjudgmentimposesimprisonmentpaymentofcriminalmonetarypenaltiesisdueduring
im prisonment. Allcrim inalmonetary penalties exceptthose payments made through the FederalBureau of Prisons' Inm ate Financial
ResponsibilityProgram,aremadetotheclerkofthecourt.
Thedefendantshallreceive creditforaIlpaymentspreviously m adetolvard anycrim inalmonetarypenaltiesim posed.

EEI     Jointand Several

        DefendantandCo-DefendantNamesandCaseNumbers(includingdefendantnumber),TotalAmotmt,Jointand
        SeveralAm ount,and corresponding payee,ifappropriate.



D       n edefendantshallpay the costofprosecution.

I
Zl      Thedefendantshallpaythefollowingcourtcostts):
(
ZI      Thedefendantshallforfeitthe defendant's interestin the follow ing property to the United States'
                                                                                                       .


Paymentsshallbeajpliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,(4)5neprincipal,(5)fineinterest,
(6)cofnmunityrestltution,(7)penalties,and(8)costs includingcostofprosecutionandcoul'tcosts.
